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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS 20IIDEC 18. pp

AUSTIN DIVISION 15:04

   
 

HOUSTON INDEPENDENT SCHOOL
DISTRICT,
PLAINTIFFS,

HOUSTON FEDERATION OF
TEACHERS, JACKIE ANDERSON,
MAXIE HOLLINGSWORTH, AND
DANIEL SANTOS,
PLAINTIFANTERVENORS, CAUSE NO. 1:19-CV-684-LY

V.

THE TEXAS EDUCATION AGENCY; MIKE
MORATH, COMMISSIONER OF
EDUCATION, IN HIS OFFICIAL CAPACITY;
AND DORIS DELANEY, IN HER OFFICIAL
CAPACITY,

6G2 662 60> 60> COD 6G2 662 60> 60> 600 602 COD 60D 6O> 40D 602 602 HOD

DEFENDANTS.
FINAL JUDGMENT
Before the court is the above entitled cause of action. On this date, the court denied Plaintiff
Houston Independent School District’s Application for Preliminary Injunction; granted Defendants’
Motion to Dismiss in part, dismissing with prejudice Plaintiffs federal claims; withdrew the court’s
prior order granting Plaintiff-Intervenors the Houston Federation of Teachers, Jackie Anderson,
Maxie Hollingsworth, and Daniel Santos’s Motion to Intervene; and denied the Motion to Intervene.
THE COURT NOW ORDERS that Plaintiff Houston Independent School District’s state-
law claims seeking declaratory judgments regarding the Texas Open Meetings Act and ultra vires
acts are REMANDED to the 459th Judicial District Court of Travis County, Texas.

IT IS FURTHER ORDERED that Defendants are awarded costs.
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Having resolved all matters in this cause, and pursuant to Federal Rule of Civil Procedure
58,

IT IS FINALLY ORDERED that this case is CLOSED.

SIGNED this Key day of December, 2019.

 
   

UNITED STATES'DISTRICT JUDGE
